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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                            :
                                                     :
        v.                                           :       CASE NO. 21-CR-003 (RCL)
                                                     :
JACOB ANTHONY CHANSLEY,                              :
     Defendant.                                      :


                OPPOSITION TO DEFENDANT’S MOTION TO REOPEN
                DETENTION HEARING AND FOR PRE-TRIAL RELEASE

       The defense has provided this Court with dozens of video exhibits to support its prayer for

release in this case. None of those videos are “new and material” information, relevant to reopening

the detention hearing.

       With its opposition motion, the government submits to this Court just three exhibits, which

demonstrate, along with all the prior evidence proffered by the government, that defendant Jacob

Chansley was not welcomed into the U.S. Capitol by police officers, nor a mere follower among

the riotous crowd, nor a peaceful protester at the United States Capitol on January 6, 2021.

       The defendant is depicted in Exhibit 1 on U.S. Capitol CCTV video storming up the stairs

to the Upper West Terrace of the Capitol in the mob that overran officers holding a police line at

the top of the scaffolding leading to the first story of the U.S. Capitol building at approximately

2:10 p.m. The defendant is depicted in Exhibit 2 on U.S. Capitol CCTV video entering the

building—in what has been confirmed by U.S. Capitol Police as the first breach of the building on

January 6th—on the first floor of the Senate wing at approximately 2:13 p.m. Finally, the defendant

is depicted in Exhibit 3 on U.S. Capitol CCTV video entering the Senate Gallery, alone and

unescorted, at approximately 2:52 p.m., long after his now-famous interaction with Officer

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Robishaw, when he and other rioters were asked to leave the building, but before his appearance

on the Senate Floor. The Court’s initial assessment remains correct: the defendant was not in the

“third wave” of the breach of the U.S. Capitol; he “quite literally spearheaded it.” ECF No. 25, at

23.




           Exhibit 1- Capitol CCTV Camera Upper West Terrace, appx 14:10 hours




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    Exhibit 2- Capitol CCTV Camera Senate Wing, appx 14:13 hours




Exhibit 3- Capitol CCTV Camera Outside Senate Gallery, appx 14:52 hours

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       For the reasons fully discussed below, the government opposes the defendant’s motion to

reopen the detention hearing and the motion for pre-trial release. The government will not restate

the arguments made in its Memorandum in Opposition to Defendant’s Emergency Motion for Pre-

Trial Release, ECF No. 7, Memorandum in Opposition to Defendant’s Emergency Motion for Pre-

Trial Release, ECF No. 17, and Surreply to Defendant’s Emergency Motion for Pre-Trial Release,

ECF No. 23, but respectfully asks that those arguments be incorporated herein. There remains a

basis to hold the defendant under 18 U.S.C. 3142(f)(1)(E), (f)(2)(A), and (f)(2)(B), and that the

factors in 18 U.S.C. 3142(g) continue to strongly favor detention. In support of its continued

opposition, the government responds to the defendant’s arguments as follows:

 I.      The Defendant Has Not Met the Standard to Reopen the Detention Hearing.

       The determination that a criminal defendant must be detained pursuant to section 3142(g)

“may be reopened” at any time prior to trial if new information surfaces that has a “material bearing

on the issue [of] whether there are conditions of release that will reasonably assure the appearance

of such person as required and the safety of any other person and the community.” United States

v. Lee, 451 F. Supp. 3d 1, 5 (D.D.C. 2020) (citing 18 U.S.C. § 3142(f)). “New and material

information ... consists of something other than a defendant's own evaluation of his character or

the strength of the case against him”; instead, it must consist of “truly changed circumstances,

something unexpected, or a significant event.” Id., (citing United States v. Esposito, 354 F. Supp.

3d 354, 359 (S.D.N.Y. 2019)). Moreover, and significantly for present purposes, “previously

unavailable information has no material bearing on the factors that must be considered to establish

the propriety of pretrial detention unless that new information casts different light on any of those

factors.” Lee, at 5 (emphasis in original).


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       A. Videos Provided By the Defense Are Not “New and Material” Information.

       The defense has proffered allegedly new information, intended to corroborate its position

that the defendant was acting peacefully on January 6, and not in contravention of police orders.

However, much of this argument is neither new nor novel, and merely rehashes arguments made

by counsel at the prior detention hearing. ECF No. 12, at 20 (“The proof in the record is that

Defendant, unlike others involved in acts of violence and assault in the U.S. Capitol Building on

January 6, 2021, the Defendant herein did not have any specific plan to travel to or enter into the

Capitol, much less commit violence, possess a weapon, vandalize, thieve, commit any acts of

violence or assault, enter private offices, view secretive or classified materials, or take any action

other than that which is reflected in virtually limitless video footage of the Defendant while in the

U.S. Capitol Building.”)

       The defendant’s ‘newly’ discovered evidence mostly consists of videos on YouTube. See

ECF No. 40, at 10-23. None of these videos provide any new or material evidence on the limited

question of detention. Several of the videos do not even depict the defendant. See ECF No. 40, at

10, Para. 30; at 19, Para 43; at 19, Para 44. Others have no bearing on the § 3142(g) factors. See

ECF No. 40, at 9, Para. 27 (the defendant allegedly stops a muffin theft); at 9-10, Para. 28 (the

defendant’s childhood essay from 2005). Others still show even more illegal conduct committed

by the defendant on January 6th. See ECF No. 40, at 10, Para 29 (the defendant inciting a crowd

illegally present on the U.S. Capitol Grounds by shouting on his bullhorn that America is being

restored); at 15, Para 37 (same video as above); at 16, Para 40 (videos of Chansley on Capitol

Grounds, climbing the scaffolding directly in front of the police line, inciting the crowd with

chanting on his bullhorn); at 20, Para 46 (another rioter speaking on the defendant’s bullhorn, and

Officer Robishaw begs the mob not to attack or assault anyone). And, most tellingly, some videos
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bolster the government’s argument that the defendant had long aimed to stop the normal

functioning of the government by ridding it of its “traitors.” See ECF No. 40, at 15, para 40 (the

defendant being interviewed in November 2020, describing Arizona as “a swamp and a cesspool”

after the election results); at 15, Para 40 (the defendant screaming at a crowd about psychological

warfare and fighting for America in November 2020, stating that “now we know who the traitors

are…now we know who the infiltrators are, we have to go through the work of getting rid of

‘em.”).

          The defense also references the video from The New Yorker piece “A Reporter’s Video

from Inside the Capitol Siege,” and suggests that it was heavily edited and not presented in

temporally chronological order. ECF No. 40, at 12. The government never proffered that the video

was unedited, nor did the Court rely on such an assertion in its prior rulings. ECF No. 25, at 24, n.

7. Instead, the video shows what the government has been arguing from the beginning—that the

defendant was screaming obscenities and carrying a spear inside the Senate gallery when a vital

Congressional proceeding should have been taking place; that the defendant ignored the repeated

requests of Officer Robishaw to vacate the Senate dais; that the defendant called the Vice President

of the United States a “fucking traitor;” and leading other rioters in an incantation on his bullhorn.

This is not new. It is material, and the Court has already reviewed it. The Court’s ruling correctly

recognized a dangerous man obstructing the normal functioning of the United States government.

ECF No. 25, at 27. That threat has not abated, and nothing in the defense’s proffered evidence

shows otherwise.

          B. The Defense Proffer As to The Defendant’s Condition and the COVID-19 Protocols
             Was Raised at the Prior Hearing and Is Not Material.




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       The defense argues that the protocols in place within the federal Bureau of Prisons to

combat the spread of COVID-19 is cumbersome to the defendant’s ability to meet with his attorney

and is detrimental to his mental well-being. ECF No. 40, at 34-35. This, also, is not new

information and was previously argued by counsel in prior pleadings. ECF No. 12, at 8.

       In addition, other judges in this Court have addressed whether the global pandemic is

material to the impact of the 18 U.S.C. § 3142(g) factors, warranting the reopening of a detention

hearing. See, e.g., United States v. Lee, 451 F. Supp. 3d 1, 7 (D.D.C. 2020) (“this Court doubts

that the COVID-19 pandemic has any material impact on the section 3142(g) factors that led [the

Magistrate] to determine that pretrial detention was warranted.”). Simply put, the global pandemic

and protocols in place to prevent its spread cannot alter the nature and circumstances of a charged

offense, nor does it impact the weight of the evidence. Id. While the defense argues that the

protocols have put a strain on the defendant’s mental health, the defense makes no credible

argument as to why the defendant’s personal circumstances are not like those of other defendants

for whom detention is difficult. Nor has the defense proffered a specific health condition that would

make the COVID-19 pandemic have a readily material bearing—like those with underlying

medical conditions that make them susceptible to the virus. Id. Finally, and perhaps most

importantly, the COVID-19 protocols and their effect on the defendant have no bearing on the

dangers posed by the defendant if he were released into the community. As the government has

repeatedly argued, and argues again below, that danger is high and should be heeded by the Court.

 II.     If the Court Does Reopen the Detention Hearing, The Defendant Has Not Proven
         That He Would Not be A Danger If Released Into the Community.
       The government has not previously argued, nor does it now argue, that the defendant stands

 accused of committing a definitional crime of violence at the Capitol on January 6th. We have,


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 on the other hand, showed, that the defendant was among the first to enter the Capitol building,

 that his actions inside the Senate Chambers further incited rioters, that he contradicted the

 requests of law enforcement, and that he obstructed the normal function of our Democracy. The

 defendant continues to be a danger to the community and should not be released.

       A. The Defendant Was A Part of the First Breach of the U.S. Capitol Building.

       Despite defense’s argument to the contrary, ECF No. 40, at 13-14, the defendant was

among the very first rioters to breach the U.S. Capitol Building on January 6, 2021. The U.S.

Capitol Police videos submitted with this opposition as Exhibits 1 and 2 show the defendant

running up the stairs to the Upper West Terrace once a line of police officers was forced to retreat,

and then entering the building at approximately 2:13 p.m. when other rioters broke the windows

to the Senate wing and made the first breach of the building.

       B. Vice President Mike Pence Remained in the U.S. Capitol Building and Grounds
          Throughout the Entire Riot.
       Defense proffers a video showing dark cars driving near the Capitol as proof that then-Vice

President Pence left the Capitol at 1:59 p.m., and casting doubt on the viability of the charges

against the defendant, specifically the violations of 18 U.S.C. § 1752(a). ECF No. 40, at 18. This

assertion is false. As confirmed by the U.S. Secret Service, then-Vice President Mike Pence

remained in the U.S. Capitol Building and Grounds throughout the entire riot on January 6, 2021.

It is truly incredible that the defense can believably contend that a man carrying a spear, repeatedly

contradicting the directions of law enforcement, shouting that Mike Pence is “a fucking traitor,”

and penning a note for Mike Pence stating “It is Only A Matter of Time. Justice Is Coming!” was

not a danger to the physically-present Vice President of the United States.



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       C. The Defendant’s Notoriety and Strong Social Media Presence Speaks to His
          Continuing Dangerousness.
       The defense argues that he would no longer be a danger if released. But as the government

continues to investigate this case, we have learned even more information about the defendant’s

social media behaviors and conduct, previously spreading inflammatory and violent rhetoric which

cannot be ignored in the context of his participation in the Capitol riot. Such social media evidence,

posted on Facebook, illustrate the defendant’s escalation in rhetoric over the course of 2020:

       June 6, 2020: “This brief video explains the many reasons why the US elections
       have been under attack for many generations & how it is that we as a country are
       taking our elections back from the globalist NWOCDC-MSM!”

       July 16, 2020: “This video explains how the DC swamp was formed, how it is
       maintained & who the swamp monsters are in our nation's capital. It details
       inarguable truths that once understood make the roots of gov. corruption clear &
       exposes the traitors at every level.”

       September 10, 2020: “This video elaborates on the many reasons why everyone in
       the US, UK & elsewhere must stand up for & exercise their inalienable God-given
       rights! Tyranny can not win if we unite against the globalist/communists! Division
       & fear will not win when we unite!”

       October 11, 2020: “This video dives deep into the ways spiritual warfare is being
       waged all around us all the time in plain sight. It also covers the ways that
       infiltration into nations is key in order to wage this modern form of ancient spiritual
       warfare. This is a must-see.”

       November 19, 2020: “This video explains how we can all ID the traitors in our
       government, news networks, entertainment & corporations. It also gives a detailed
       description of how we can examine these traitor's actions on a grander scale so we
       may halt their agenda in the USA!”

       December 28, 2020: “This video dives deep into the globalist plot for world
       domination thru the plandemic & its numerous different agendas. It also explains
       how the deep state was created, who in our gov. is responsible for is propagation in
       the US & what we can do to end it.”

       December 29, 2020: “This video reveals the 5-D chessboard in a way that should
       bring everyone comfort, help people trust POTUS & trust the plan. It explains the


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       way this new type of warfare is being conducted & won in the US. It also details
       the biblical nature of this time!”

       Even the defense’s own exhibits prove that he has been obsessing and spewing rhetoric

about getting rid of traitors for months before his appearance at the Capitol, ECF No. 40, at 15. If

he is released, the evidence suggests that this behavior will undoubtedly continue.

        The defendant’s motion provides no basis to reopen the detention hearing. In any event, a

 substantive review of the Bail Reform Act factors continue to militate in favor of detention. As

 a result, the government respectfully opposes the defendant’s motion to reopen the detention

 hearing and for pre-trial release.


                                       Respectfully submitted,

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